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                                                     93

 Fill in this information to identify the case:

 Debtor name                                ASTRALABS Inc

 United States Bankruptcy Court for the:
                                Western District of Texas

 Case number (if known):                23-10164                                                                                      ❑ Check if this is an
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ✔
         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ✔
         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ✔
         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ✔
         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ✔
         ❑     Schedule H: Codebtors (Official Form 206H)

         ✔
         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑     Amended Schedule

         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on     03/30/2023
                          MM/ DD/ YYYY
                                                                            ✘ /s/ Jack Cartwright
                                                                                Signature of individual signing on behalf of debtor


                                                                                Jack Cartwright
                                                                                Printed name


                                                                                VP of Finance
                                                                                Position or relationship to debtor



Official Form B202                                 Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                    93
 Fill in this information to identify the case:

 Debtor name                                ASTRALABS Inc

 United States Bankruptcy Court for the:
                                Western District of Texas

 Case number (if known):                23-10164                                                                                   ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                               12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as
fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑ No. Go to Part 2.
       ✔ Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                  Current value of debtor's
                                                                                                                                       interest

  2.   Cash on hand

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)             Type of account                  Last 4 digits of account number
       3.1 Pacific Western Bank                                     Checking account                        0177                                   $110,824.23

       Additional Page Total - See continuation page for additional entries                                                                       $130,880.15

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                    $241,704.38
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ❑ No. Go to Part 3.
       ✔ Yes. Fill in the information below.
       ❑
                                                                                                                                       Current value of debtor's
                                                                                                                                       interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       7.1 3423 Holdings, LLC                                                                                                                          $42,000.00




Official Form 206A/B                                        Schedule A/B: Assets — Real and Personal Property                                          page 1
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Debtor        ASTRALABS Inc                                                                                      Case number (if known)            23-10164
             Name


  8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
       Description, including name of holder of prepayment

       None


  9.   Total of Part 2
                                                                                                                                                       $42,000.00
       Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10. Does the debtor have any accounts receivable?
         ❑ No. Go to Part 4.
         ✔ Yes. Fill in the information below.
         ❑

                                                                                                                                          Current value of debtor's
                                                                                                                                          interest

  11. Accounts Receivable

         11a. 90 days old or less:                 $0.00                -                  $0.00                    = ...... ➔                        $801,549.29
                                     face amount                            doubtful or uncollectible accounts


         11b. Over 90 days old:                    $0.00                -                  $0.00                    = ...... ➔                        $611,960.92
                                     face amount                            doubtful or uncollectible accounts


  12. Total of Part 3
                                                                                                                                                    $1,413,510.21
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13. Does the debtor own any investments?
         ❑ No. Go to Part 5.
         ✔ Yes. Fill in the information below.
         ❑

                                                                                                         Valuation method used for        Current value of debtor's
                                                                                                         current value                    interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:

         None


  15. Non-publicly traded stock and interests in incorporated and unincorporated
      businesses, including any interest in an LLC, partnership, or joint venture
         Name of fund or stock:                                                     % of
                                                                                    ownership:
         15.1 8 Myles Inc                                                              2.00%                                                           (Unknown)


         Additional Page Total - See continuation page for additional entries                                                                                 $0.00




Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                           page 2
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Debtor       ASTRALABS Inc                                                                               Case number (if known)            23-10164
             Name



  16. Government bonds, corporate bonds, and other negotiable and non-negotiable
      instruments not included in Part 1
         Describe:

         None


  17. Total of Part 4
                                                                                                                                                      $0.00
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18. Does the debtor own any inventory (excluding agriculture assets)?
         ✔ No. Go to Part 6.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                Date of the last        Net book value of   Valuation method used     Current value of debtor's
                                                            physical inventory      debtor's interest   for current value         interest
                                                                                    (Where available)


  19. Raw materials

         None

  20. Work in progress

         None

  21. Finished goods, including goods held for resale

         None

  22. Other inventory or supplies

         None

  23. Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                        $0.00


  24. Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑ Yes
  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)




Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                   page 3
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Debtor       ASTRALABS Inc                                                                               Case number (if known)            23-10164
             Name



  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  28. Crops — either planted or harvested

         None


  29. Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30. Farm machinery and equipment (Other than titled motor vehicles)

         None

  31. Farm and fishing supplies, chemicals, and feed

         None


  32. Other farming and fishing-related property not already listed in Part 6

         None

  33. Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                          $0.00


  34. Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑ Yes. Is any of the debtor's property stored at the cooperative?
             ❑ No
             ❑ Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  36. Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑ Yes
  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles




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Debtor       ASTRALABS Inc                                                                               Case number (if known)            23-10164
             Name



  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ❑ No. Go to Part 8.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  39. Office furniture

         39.1 Desks (100)                                                                  (Unknown)    Fair Market Value                       $5,000.00


         Additional Page Total - See continuation page for additional entries                                                                   $7,050.00

  40. Office fixtures

         None


  41. Office equipment, including all computer equipment and
      communication systems equipment and software

         41.1 Printer (1)                                                                  (Unknown)    Fair Market Value                          $50.00


         Additional Page Total - See continuation page for additional entries                                                                   $7,500.00

  42. Collectibles Examples: Antiques and figurines; paintings, prints or
      other artwork; books, pictures, or other art objects; china and crystal;
      stamp, coin, or baseball card collections; other collections,
      memorabilia, or collectibles

         None


  43. Total of Part 7
                                                                                                                                               $19,600.00
         Add lines 39 through 42. Copy the total to line 86.

  44. Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑ Yes
  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 8: Machinery, equipment, and vehicles


  46. Does the debtor own or lease any machinery, equipment, or vehicles?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                       Net book value of    Valuation method used     Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN,    debtor's interest    for current value         interest
         or N-number)                                                              (Where available)




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 5
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Debtor        ASTRALABS Inc                                                                                  Case number (if known)            23-10164
             Name



  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm
      vehicles

         None


  48. Watercraft, trailers, motors, and related accessories Examples:
      Boats, trailers, motors, floating homes, personal watercraft, and fishing
      vessels

         None


  49. Aircraft and accessories

         None


  50. Other machinery, fixtures, and equipment (excluding farm machinery
      and equipment)

         None


  51. Total of Part 8
                                                                                                                                                          $0.00
         Add lines 47 through 50. Copy the total to line 87.

  52. Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑ Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 9: Real Property


  54. Does the debtor own or lease any real property?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                    Nature and extent of Net book value of     Valuation method used      Current value of debtor's
         Include street address or other description such as    debtor's interest in debtor's interest     for current value          interest
         Assessor Parcel Number (APN), and type of property     property             (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

         None


  56. Total of Part 9
                                                                                                                                                          $0.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.

  57. Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑ Yes
Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                    page 6
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Debtor       ASTRALABS Inc                                                                               Case number (if known)            23-10164
             Name


  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 10: Intangibles and Intellectual Property


  59. Does the debtor have any interests in intangibles or intellectual property?
         ❑ No. Go to Part 11.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  60. Patents, copyrights, trademarks, and trade secrets

         None

  61. Internet domain names and websites

         61.1 www.astralabs.com                                                            (Unknown)                                                  $1.00


         Additional Page Total - See continuation page for additional entries                                                                         $1.00

  62. Licenses, franchises, and royalties

         None

  63. Customer lists, mailing lists, or other compilations

         None


  64. Other intangibles, or intellectual property

         None

  65. Goodwill

         None


  66. Total of Part 10
                                                                                                                                                      $2.00
         Add lines 60 through 65. Copy the total to line 89.

  67. Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑ Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes

Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 7
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Debtor        ASTRALABS Inc                                                                              Case number (if known)            23-10164
             Name




 Part 11: All other assets


  70. Does the debtor own any other assets that have not yet been reported on this form?
         ✔ No. Go to Part 12.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                                                  Current value of debtor's
                                                                                                                                  interest

  71. Notes receivable
         Description (include name of obligor)

         None


  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73. Interests in insurance policies or annuities

         None


  74. Causes of action against third parties (whether or not a lawsuit has been filed)

         None


  75. Other contingent and unliquidated claims or causes of action of every nature,
      including counterclaims of the debtor and rights to set off claims

         None


  76. Trusts, equitable or future interests in property

         None


  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership

         None


  78. Total of Part 11
                                                                                                                                                      $0.00
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 8
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Debtor        ASTRALABS Inc                                                                                                          Case number (if known)            23-10164
              Name


 Part 12: Summary


         Type of property                                                                    Current value of                            Current value
                                                                                             personal property                           of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5,
      Part 1.                                                                                             $241,704.38

  81. Deposits and prepayments. Copy line 9, Part 2.                                                        $42,000.00

  82. Accounts receivable. Copy line 12, Part 3.                                                        $1,413,510.21

  83. Investments. Copy line 17, Part 4.                                                                              $0.00

  84. Inventory. Copy line 23, Part 5.                                                                                $0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                       $0.00

  86. Office furniture, fixtures, and equipment; collectibles. Copy
      line 43, Part 7.                                                                                      $19,600.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                       $0.00


                                                                                                                                ➔                              $0.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                                   $2.00

  90. All other assets. Copy line 78, Part 11.                                          +                             $0.00



  91. Total. Add lines 80 through 90 for each column......                          91a.                $1,716,816.59         + 91b.                           $0.00



                                                                                                                                                                          $1,716,816.59
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                    Schedule A/B: Assets — Real and Personal Property                                                 page 9
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Debtor       ASTRALABS Inc                                                                             Case number (if known)            23-10164
            Name



          Additional Page


       All cash or cash equivalents owned or controlled by the debtor                                                           Current value of debtor's
                                                                                                                                interest

  3.   Checking, savings, money market, or financial brokerage accounts - Continued
       Name of institution (bank or brokerage firm)        Type of account                  Last 4 digits of account number
       3.2 Pacific Western Bank                                 Checking account                        7932                                   $100.00

       3.3 Pacific Western Bank                                 Checking account                        0060                               $130,438.66

       3.4 SVB                                                  Checking account                        5517                                   $341.49


                                                                                                  Valuation method used for     Current value of debtor's
                                                                                                  current value                 interest

  15. Non-publicly traded stock and interests in incorporated and unincorporated
      businesses, including any interest in an LLC, partnership, or joint venture - Continued
         Name of fund or stock:                                              % of
                                                                             ownership:
         15.2 FYNCR Inc.                                                        2.00%                                                        (Unknown)

              Joule Case II EB (THE "SPV") a series of Wefunder SPV,
         15.3 LLC                                                               2.00%                                                        (Unknown)

         15.4 Ponto LLC                                                         2.00%                                                        (Unknown)

         15.5 Ruben Oliver LLC                                                  2.00%                                                        (Unknown)

         15.6 SuperPhone                                                        2.00%                                                        (Unknown)

         15.7 Univoice Corporation                                              2.00%                                                        (Unknown)

         15.8 Vitality RX                                                       2.00%                                                        (Unknown)

         15.9 Watershed Medical, Inc.                                           2.00%                                                        (Unknown)


         General description                                                  Net book value of      Valuation method used      Current value of debtor's
                                                                              debtor's interest      for current value          interest
                                                                              (Where available)

  39. Office furniture - Continued
         39.2 Chairs (100)                                                              (Unknown)     Fair Market Value                       $4,500.00

         39.3 Filing Cabinets (5)                                                       (Unknown)     Fair Market Value                          $50.00

         39.4 Tables (10)                                                               (Unknown)     Fair Market Value                       $2,500.00

  41. Office equipment - Continued
         41.2 Monitors (150)                                                            (Unknown)     Fair Market Value                       $7,500.00

         General description                                                  Net book value of      Valuation method used      Current value of debtor's
                                                                              debtor's interest      for current value          interest
                                                                              (Where available)

  61. Internet domain names and websites - Continued
         61.2 https://newchip.com/                                                      (Unknown)     Fair Market Value                             $1.00




Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                    page 10
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 Fill in this information to identify the case:

     Debtor name     ASTRALABS Inc

     United States Bankruptcy Court for the:                 Western                 District of             Texas
                                                                                                   (State)
     Case number (if known):      23-10164                                                                                                             ❑    Check if this is an
                                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                    12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ❑   No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ✔
       ❑   Yes. Fill in all of the information below.

     Part 1:        List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more                             Column A                        Column B
        than one secured claim, list the creditor separately for each claim.                                                 Amount of claim                 Value of collateral
                                                                                                                             Do not deduct the value         that supports this
                                                                                                                             of collateral.                  claim

2.1 Creditor’s name                                          Describe debtor’s property that is subject to a
                                                             lien                                                                             $536,000.00                unknown
         Apex Funding Source, LLC

        Creditor’s mailing address
         3050 Biscayne Blvd Suite 502
         Miami, FL 33137
                                                             Describe the lien
        Creditor’s email address, if known                   Merchant Cash Advance

                                                             Is the creditor an insider or related party?
        Date debt was                    1/26/2023           ✔
                                                             ❑   No
        incurred
                                                             ❑   Yes
        Last 4 digits of                                     Is anyone else liable on this claim?
        account
        number
                                                             ❑   No
                                                             ✔
                                                             ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Do multiple creditors have an interest
        in the same property?                  As of the petition filing date, the claim is:

        ✔
                                                             Check all that apply.
        ❑   No
        ❑   Yes. Specify each creditor, including this       ❑   Contingent
                 creditor, and its relative priority.        ❑   Unliquidated
                                                             ✔
                                                             ❑   Disputed




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the                                               $1,130,000.00
        Additional
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 2
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Debtor     ASTRALABS Inc                                                                               Case number (if known) 23-10164
          Name




  Part 1:         Additional Page                                                                                       Column A                       Column B
                                                                                                                        Amount of claim                Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                        Do not deduct the value        that supports this
 from the
                                                                                                                        of collateral.                 claim
 previous page.

2.2 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                        lien                                                                             $594,000.00            unknown
      Iruka Capital

     Creditor’s mailing address
      162 Elmora Ave #211
      Elizabeth, NJ 07202
                                                        Describe the lien
     Creditor’s email address, if known                 Merchant Cash Advance

                                                        Is the creditor an insider or related party?
     Date debt was                                      ✔
                                                        ❑   No
     incurred
                                                        ❑   Yes
     Last 4 digits of                                   Is anyone else liable on this claim?
     account
     number
                                                        ❑   No
                                                        ✔
                                                        ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest
     in the same property?                  As of the petition filing date, the claim is:

     ✔
                                                        Check all that apply.
     ❑   No
     ❑   Yes. Have you already specified the            ❑   Contingent
              relative priority?                        ❑   Unliquidated

         ❑    No. Specify each creditor, including      ✔
                                                        ❑   Disputed
                  this creditor, and its relative
                  priority.



         ❑    Yes. The relative priority of creditors
                   is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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 Fill in this information to identify the case:

 Debtor name                                ASTRALABS Inc

 United States Bankruptcy Court for the:
                                Western District of Texas

 Case number (if known):                23-10164                                                                                   ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ✔ No. Go to Part 2.
        ❑
        ❑ Yes. Go to line 2.
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim                  Priority amount

       Priority creditor’s name and mailing address          As of the petition filing date, the claim is:
2.1                                                          Check all that apply.
                                                             ❑ Contingent
                                                             ❑ Unliquidated
                                                             ❑ Disputed
                                                             Basis for the claim:
       Date or dates debt was incurred


                                                             Is the claim subject to offset?
       Last 4 digits of account
                                                             ❑ No
       number
                                                             ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)
       Priority creditor’s name and mailing address          As of the petition filing date, the claim is:
2.2                                                          Check all that apply.
                                                             ❑ Contingent
                                                             ❑ Unliquidated
                                                             ❑ Disputed
                                                             Basis for the claim:
       Date or dates debt was incurred


                                                             Is the claim subject to offset?
       Last 4 digits of account
                                                             ❑ No
       number
                                                             ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)




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Debtor        ASTRALABS Inc                                                                                   Case number (if known)            23-10164
             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $5,000.00
                                                                            Check all that apply.
       Adwait Muthal
                                                                            ❑ Contingent
       7 Wainwright Rd Unit 80                                              ❑ Unliquidated
                                                                            ❑ Disputed
       Winchester, MA 01890-2381
                                                                            Basis for the claim: Investor Note
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred         08/11/2022                   ✔ No
                                                                            ❑
                                                                            ❑ Yes
       Last 4 digits of account number

3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $10,000.00
                                                                            Check all that apply.
       Albert Balady
                                                                            ❑ Contingent
       208 Ackerman Ave                                                     ❑ Unliquidated
                                                                            ❑ Disputed
       Ho Ho Kus, NJ 07423-1006
                                                                            Basis for the claim: Investor Note
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred         08/18/2022                   ✔ No
                                                                            ❑
                                                                            ❑ Yes
       Last 4 digits of account number

3.3 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $2,000.00
                                                                            Check all that apply.
       Alexander Clarence McIntosh
                                                                            ❑ Contingent
       1047 East Spazier Ave. Apt. # L                                      ❑ Unliquidated
                                                                            ❑ Disputed
       Burbank, CA 91502
                                                                            Basis for the claim: Investor Note
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred         08/12/2022                   ✔ No
                                                                            ❑
                                                                            ❑ Yes
       Last 4 digits of account number

       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $10,000.00
3.4                                                                         Check all that apply.
       Alexander Seery
                                                                            ❑ Contingent
       925 Rolfe Place                                                      ❑ Unliquidated
                                                                            ❑ Disputed
       Alexandria, VA 22314
                                                                            Basis for the claim: Investor Note
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred         08/31/2022                   ✔ No
                                                                            ❑
                                                                            ❑ Yes
       Last 4 digits of account number




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3.5 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
      Alexandra Cherwa aka Jonathan Cherwa
                                                                       ❑ Contingent
      15907 91st Ave Ct E                                              ❑ Unliquidated
                                                                       ❑ Disputed
      Puyallup, WA 98375
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred      08/11/2022                  ✔ No
                                                                       ❑
                                                                       ❑ Yes
      Last 4 digits of account number

3.6 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $2,500.00
                                                                       Check all that apply.
      Alexandre Sylvestre
                                                                       ❑ Contingent
      609 Tower Dr.                                                    ❑ Unliquidated
                                                                       ❑ Disputed
      Edgewater, NJ 07020
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred      08/31/2022                  ✔ No
                                                                       ❑
                                                                       ❑ Yes
      Last 4 digits of account number

3.7 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
      Anthony Runnels
                                                                       ❑ Contingent
      12024 Rock Creek Ct.                                             ❑ Unliquidated
                                                                       ❑ Disputed
      Hawthorne, CA 90250
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred      08/18/2022                  ✔ No
                                                                       ❑
                                                                       ❑ Yes
      Last 4 digits of account number

      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $5,000.00
3.8                                                                    Check all that apply.
      Anthony Runnels
                                                                       ❑ Contingent
      12024 Rock Creek Ct.                                             ❑ Unliquidated
                                                                       ❑ Disputed
      Hawthorne, CA 90250
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred      08/11/2022                  ✔ No
                                                                       ❑
                                                                       ❑ Yes
      Last 4 digits of account number




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3.9      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $30,000.00
                                                                       Check all that apply.
         Anthony Veloso
                                                                       ❑ Contingent
         730 Mason Road                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Jefferson, MA 01522
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/26/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.10 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
         Antonello Loddo
                                                                       ❑ Contingent
         205 Ridge Ave                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Gettysburg, PA 17325
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/26/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.11 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,000.00
                                                                       Check all that apply.
         Anu Santhanagopal
                                                                       ❑ Contingent
         12 Brittany Way                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Kendall Park, NJ 08824
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $1,000.00
3.12                                                                   Check all that apply.
         Anuj Jain aka Anmol Jain
                                                                       ❑ Contingent
         620 W 42n ST Apt S06G                                         ❑ Unliquidated
                                                                       ❑ Disputed
         New York, NY 10036
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/15/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.13 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $9,000.00
                                                                       Check all that apply.
         Arturo Benedicto M. Llano
                                                                       ❑ Contingent
         10 Juan Luna, UP Campus,                                      ❑ Unliquidated
         Diliman, Quezon City,                                         ❑ Disputed
         Metro Manila                                                  Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      08/16/2022

         Last 4 digits of account number

3.14 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,000.00
                                                                       Check all that apply.
         Avinash Reddy Desireddy
                                                                       ❑ Contingent
         16304 FM 1325 APT 7315                                        ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78728
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/25/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.15 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,500.00
                                                                       Check all that apply.
         Baiping Guo
                                                                       ❑ Contingent
         8 Mooney Street                                               ❑ Unliquidated
         Lane Cove North NSW 2066                                      ❑ Disputed
         Australia                                                     Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $5,000.00
3.16                                                                   Check all that apply.
         Billy Jack Linsley
                                                                       ❑ Contingent
         16 Bodine Street                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Wellsboro, PA 16901
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/16/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.17 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,000.00
                                                                       Check all that apply.
         Bradford Chan
                                                                       ❑ Contingent
         2540 Wexford Ave.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         South San Francisco, CA 94080
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.18 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $30,000.00
                                                                       Check all that apply.
         Bradley G Kessler / Kessler Realty Holdings Inc.
                                                                       ❑ Contingent
         1621 Northland Ave                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Lakewood, OH 44107
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      09/05/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.19 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
         Bradley Robertson
                                                                       ❑ Contingent
         550 Oak Grove Ave. Unit 122                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Menlo Park, CA 94025
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $5,000.00
3.20                                                                   Check all that apply.
         Bradley Robertson
                                                                       ❑ Contingent
         550 Oak Grove Ave. Unit 122                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Menlo Park, CA 94025
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      11/10/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.21 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,000.00
                                                                       Check all that apply.
         Cameron Resnick
                                                                       ❑ Contingent
         870 North 28th Street 101                                     ❑ Unliquidated
                                                                       ❑ Disputed
         Philadelphia, PA 19130
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.22 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,000.00
                                                                       Check all that apply.
         Carl Lumma
                                                                       ❑ Contingent
         367 Los Gatos Blvd                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Los Gatos, CA 95032
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.23 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $25,000.00
                                                                       Check all that apply.
         Carl Russo
                                                                       ❑ Contingent
         707 Willow Ave. Unit #2                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Hoboken, NJ 07030
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $25,000.00
3.24                                                                   Check all that apply.
         Carl Russo
                                                                       ❑ Contingent
         707 Willow Ave. Unit #2                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Hoboken, NJ 07030
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/25/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.25 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $25,000.00
                                                                       Check all that apply.
         Casey Melcher
                                                                       ❑ Contingent
         1635 N Water St. Apt 602                                      ❑ Unliquidated
                                                                       ❑ Disputed
         Milwaukee, WI 53202
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.26 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,500,000.00
                                                                       Check all that apply.
         CFT Clear Finance Technology Corp.
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1200-33 Yonge Street,
         Toronto, Ontario,                                             ✔ Disputed
                                                                       ❑
         M5E 1G4, Canada                                               Basis for the claim: Merchant Cash Advance
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      06/22/2022

         Last 4 digits of account number

3.27 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,000.00
                                                                       Check all that apply.
         Chad Doyle
                                                                       ❑ Contingent
         3450 Crestmoor Dr.                                            ❑ Unliquidated
                                                                       ❑ Disputed
         San Bruno, CA 94066
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $2,500.00
3.28                                                                   Check all that apply.
         Chaisson-Browne LLC
                                                                       ❑ Contingent
         35 Fiddlehead Rd                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Oxford, CT 06478
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.29 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
         Chang Ting Zou
                                                                       ❑ Contingent
         48 Woodview Dr.                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Brewster, MA 02631
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.30 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
         Christina Hong
                                                                       ❑ Contingent
         12407 Bexley                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Houston, TX 77099
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.31 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $15,000.00
                                                                       Check all that apply.
         Christopher Fast
                                                                       ❑ Contingent
         45 Meriam Street                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Wakefield, MA 01880
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $5,000.00
3.32                                                                   Check all that apply.
         Christopher Fast
                                                                       ❑ Contingent
         45 Meriam Street                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Wakefield, MA 01880
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.33 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,000.00
                                                                       Check all that apply.
         Christopher Fast
                                                                       ❑ Contingent
         45 Meriam Street                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Wakefield, MA 01880
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      10/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.34 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
         Christopher Fontaine
                                                                       ❑ Contingent
         7814 Bradenton Drive                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Charlotte, NC 28210
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.35 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
         Constantine Trikas
                                                                       ❑ Contingent
         840 Fulton Street Apt. 704                                    ❑ Unliquidated
                                                                       ❑ Disputed
         Brooklyn, NY 11238
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $3,000.00
3.36                                                                   Check all that apply.
         Cordtz Tuatoo
                                                                       ❑ Contingent
         417 Swift Fox Run                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Crestview, FL 32536
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.37 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $7,500.00
                                                                       Check all that apply.
         Coventry Capital Partners, LLC
                                                                       ❑ Contingent
         306 Landing Lane                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Chestertown, MD 21620
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/17/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.38 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $4,000.00
                                                                       Check all that apply.
         Cristian I Crisan
                                                                       ❑ Contingent
         15408 Fisher Island Dr.                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78717
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/17/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.39 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
         Curt Bromm
                                                                       ❑ Contingent
         5785 Open Fields Drive                                        ❑ Unliquidated
                                                                       ❑ Disputed
         Whitestown, IN 46075
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $5,000.00
3.40                                                                   Check all that apply.
         Dan Smith
                                                                       ❑ Contingent
         8021 N Padova Pl.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Tucson, AZ 85741
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/15/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.41 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $20,000.00
                                                                       Check all that apply.
         Daryl W Campbell
                                                                       ❑ Contingent
         3353 River Valley Dr.                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Richland, WA 99354
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.42 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
         Daryl W Campbell
                                                                       ❑ Contingent
         3353 River Valley Dr.                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Richland, WA 99354
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/16/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.43 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,000.00
                                                                       Check all that apply.
         David Fisher
                                                                       ❑ Contingent
         832 Kristin Ln                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Williamstown, NJ 08094
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $25,000.00
3.44                                                                   Check all that apply.
         David Hule
                                                                       ❑ Contingent
         842 Harbor Island Dr.                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Newport Beach, CA 92660
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/28/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.45 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $15,000.00
                                                                       Check all that apply.
         Diego Mauro Cogno
                                                                       ❑ Contingent
         65b Cromford Road                                             ❑ Unliquidated
         SW18 1PA,                                                     ❑ Disputed
         London, UK                                                    Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      08/12/2022

         Last 4 digits of account number

3.46 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $15,000.00
                                                                       Check all that apply.
         Diego Mauro Cogno
                                                                       ❑ Contingent
         65b Cromford Road                                             ❑ Unliquidated
         SW18 1PA,                                                     ❑ Disputed
         London, UK                                                    Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number

3.47 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
         Diego Mauro Cogno
                                                                       ❑ Contingent
         65b Cromford Road                                             ❑ Unliquidated
         SW18 1PA,                                                     ❑ Disputed
         London, UK                                                    Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      08/11/2022

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $5,000.00
3.48                                                                   Check all that apply.
         Emilija Dimitrovski
                                                                       ❑ Contingent
         Lange Zeile 12,                                               ❑ Unliquidated
         90419 Nuremberg                                               ❑ Disputed
         Germany                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number




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3.49 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
         Eric Lee
                                                                       ❑ Contingent
         6620 Wickliff Trail                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Plano, TX 75023
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/26/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.50 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $25,000.00
                                                                       Check all that apply.
         Ethan Brandt
                                                                       ❑ Contingent
         301 E 4th St                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Huxley, IA 50124
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.51 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $6,000.00
                                                                       Check all that apply.
         Evan Johnson and Ejohnson RD LLC
                                                                       ❑ Contingent
         3 Revere Drive                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Ridgefield, CT 06877
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/20/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $5,000.00
3.52                                                                   Check all that apply.
         Filipe Peerally
                                                                       ❑ Contingent
         8820 Theriot Rd                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Peyton, CO 80831
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/19/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.53 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
         Filipe Peerally
                                                                       ❑ Contingent
         8820 Theriot Rd                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Peyton, CO 80831
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      11/15/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.54 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,500.00
                                                                       Check all that apply.
         Filipe Peerally
                                                                       ❑ Contingent
         8820 Theriot Rd                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Peyton, CO 80831
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      11/14/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.55 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
         Franshesca Castoria
                                                                       ❑ Contingent
         2 Hearthwood Court                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Manahawkin, NJ 08050
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/13/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $5,000.00
3.56                                                                   Check all that apply.
         Frederic W. Corwin III
                                                                       ❑ Contingent
         26 Boswell Rd.                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Reading, MA 01867
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.57 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,500.00
                                                                       Check all that apply.
         Frederic W. Corwin III
                                                                       ❑ Contingent
         26 Boswell Rd.                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Reading, MA 01867
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.58 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $40,000.00
                                                                       Check all that apply.
         Gary L DeVries
                                                                       ❑ Contingent
         2204 Ashwood Drive                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Aberdeen, SD 57401
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.59 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,500.00
                                                                       Check all that apply.
         George Andrew Simons CDP
                                                                       ❑ Contingent
         15b Acacia Lane,                                              ❑ Unliquidated
         Cambridge Road,                                               ❑ Disputed
         Sandys MA 02 Bermuda                                          Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $25,000.00
3.60                                                                   Check all that apply.
         Girish Amin
                                                                       ❑ Contingent
         1419 Sierra Glen Circle                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Apex, NC 27502
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
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3.61 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $75,000.00
                                                                       Check all that apply.
         Glenn Hunter
                                                                       ❑ Contingent
         80 Forest Drive                                               ❑ Unliquidated
                                                                       ❑ Disputed
         East Northport, NY 11731
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      10/28/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.62 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $25,000.00
                                                                       Check all that apply.
         Glenn Hunter
                                                                       ❑ Contingent
         80 Forest Drive                                               ❑ Unliquidated
                                                                       ❑ Disputed
         East Northport, NY 11731
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/19/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.63 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $20,000.00
                                                                       Check all that apply.
         Green Future Investments LLC
                                                                       ❑ Contingent
         333 Turn Pike Dr.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Folsom, CA 95630
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      11/10/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $10,000.00
3.64                                                                   Check all that apply.
         Green Future Investments LLC
                                                                       ❑ Contingent
         333 Turn Pike Dr.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Folsom, CA 95630
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/30/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
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3.65 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,000.00
                                                                       Check all that apply.
         Green Future Investments LLC
                                                                       ❑ Contingent
         333 Turn Pike Dr.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Folsom, CA 95630
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      10/28/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.66 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,500.00
                                                                       Check all that apply.
         Gregory Baker
                                                                       ❑ Contingent
         224 Furman Farm Pl.                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Charleston, SC 29492
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.67 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,500.00
                                                                       Check all that apply.
         Gregory Wilson
                                                                       ❑ Contingent
         15 W 110th St. Apt. 22                                        ❑ Unliquidated
                                                                       ❑ Disputed
         New York, NY 10026
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/15/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $26,000.00
3.68                                                                   Check all that apply.
         Harold Bishop
                                                                       ❑ Contingent
         3009 S John Redditt Ste E #398                                ❑ Unliquidated
                                                                       ❑ Disputed
         Lufkin, TX 75904
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
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3.69 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $200,000.00
                                                                       Check all that apply.
         Hasan Ugur Koyluoglu
                                                                       ❑ Contingent
         1064 Great Road                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Princeton, NJ 08540
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.70 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,000.00
                                                                       Check all that apply.
         Henry Shao
                                                                       ❑ Contingent
         1955 Junewood Ave.                                            ❑ Unliquidated
                                                                       ❑ Disputed
         San Jose, CA 95132
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/22/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.71 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
         Iryna Zhuravel
                                                                       ❑ Contingent
         8929 Lombard Place                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Apt. 123                                                      Basis for the claim: Investor Note
         San Diego, CA 92122                                           Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred      08/18/2022

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $100,000.00
3.72                                                                   Check all that apply.
         J333 Ventures LLC
                                                                       ❑ Contingent
         1706 Elliot Ranch Rd                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Buda, TX 78610
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      09/15/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
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3.73 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $30,000.00
                                                                       Check all that apply.
         Jack Atkin
                                                                       ❑ Contingent
         16 Hamlin Road                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Edison, NJ 08817
                                                                       Basis for the claim: Lender
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/30/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.74 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $30,000.00
                                                                       Check all that apply.
         Jack Atkin
                                                                       ❑ Contingent
         16 Hamlin Road                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Edison, NJ 08817
                                                                       Basis for the claim: Lender
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      10/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.75 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $25,000.00
                                                                       Check all that apply.
         Jack P. Hopper
                                                                       ❑ Contingent
         2116 Fordham Ln.                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78723
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      09/06/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $7,500.00
3.76                                                                   Check all that apply.
         James Steele
                                                                       ❑ Contingent
         510 Coffin Alley, PO Box 382                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Portland, PA 18351
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
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3.77 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,000.00
                                                                       Check all that apply.
         Jan Kvita
                                                                       ❑ Contingent
         Ke Krci 1002/24                                               ❑ Unliquidated
         Prague                                                        ❑ Disputed
         Czech Republic                                                Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      08/19/2022

         Last 4 digits of account number

3.78 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
         Jaron ("Robert") Glasgow
                                                                       ❑ Contingent
         6960 10th St N Apt. 207                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Oakdale, MN 55128
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.79 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,000.00
                                                                       Check all that apply.
         Jason Croft
                                                                       ❑ Contingent
         28A Parkway Village                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Cranford, NJ 07016
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/16/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $13,220.00
3.80                                                                   Check all that apply.
         Jason D Arnold
                                                                       ❑ Contingent
         1140 Bonanza Drive                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Okemos, MI 48864
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/19/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.81 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,000.00
                                                                       Check all that apply.
         Jason D Arnold
                                                                       ❑ Contingent
         1140 Bonanza Drive                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Okemos, MI 48864
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.82 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $12,000.00
                                                                       Check all that apply.
         Jason Kahle
                                                                       ❑ Contingent
         347 White Fox Run                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Fallbrook, CA 92028
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.83 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,000.00
                                                                       Check all that apply.
         Jeff Meyer
                                                                       ❑ Contingent
         33970 Rebecca Rd                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Kingston, IL 60145
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $3,000.00
3.84                                                                   Check all that apply.
         Jeffrey Wells
                                                                       ❑ Contingent
         18550 Hatteras St. #2                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Tarzana, CA 91356
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/16/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.85 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,000.00
                                                                       Check all that apply.
         Jeffrey Wells
                                                                       ❑ Contingent
         18550 Hatteras St. #2                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Tarzana, CA 91356
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.86 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
         Jeremy Greiner
                                                                       ❑ Contingent
         1709 Crestwood Drive                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Alexandria, VA 22302
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.87 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
         Jeremy Greiner
                                                                       ❑ Contingent
         1709 Crestwood Drive                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Alexandria, VA 22302
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $2,500.00
3.88                                                                   Check all that apply.
         Jeremy Phillips
                                                                       ❑ Contingent
         211 W Verdugo Ave. #201                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Burbank, CA 91502
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.89 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $20,000.00
                                                                       Check all that apply.
         Joao Carlos Dos Santos Branquinho,
                                                                       ❑ Contingent
         3530 Mystic Pointe Dr. Apt. 2012                              ❑ Unliquidated
                                                                       ❑ Disputed
         Aventura, FL 33180
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.90 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $20,000.00
                                                                       Check all that apply.
         Joao Carlos Santos Branquinho
                                                                       ❑ Contingent
         3530 Mystic Pointe Dr. Apt. 2012                              ❑ Unliquidated
                                                                       ❑ Disputed
         Miami, FL 33180
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/19/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.91 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,000.00
                                                                       Check all that apply.
         John W Polomny
                                                                       ❑ Contingent
         1116 Palm Valley Drive E                                      ❑ Unliquidated
                                                                       ❑ Disputed
         Harlingen, TX 78552
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $10,000.00
3.92                                                                   Check all that apply.
         Johnny F Evans
                                                                       ❑ Contingent
         234 Bay St. N.W.                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Fort Walton Beach, FL 32548
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.93 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $8,000.00
                                                                       Check all that apply.
         Johnny F Evans
                                                                       ❑ Contingent
         234 Bay St. N.W.                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Fort Walton Beach, FL 32548
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      10/29/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.94 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $7,050.00
                                                                       Check all that apply.
         Johnny F Evans
                                                                       ❑ Contingent
         234 Bay St. N.W.                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Fort Walton Beach, FL 32548
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/16/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.95 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
         Jon A. Sims
                                                                       ❑ Contingent
         25558 Fitzgerald Ave                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Stevenson Ranch, CA 91381
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $20,000.00
3.96                                                                   Check all that apply.
         Jonathan Adams
                                                                       ❑ Contingent
         1535 Crooked Stick                                            ❑ Unliquidated
                                                                       ❑ Disputed
         San Antonio, TX 78260
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.97     Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Jong Yul Kim
                                                                       ❑ Contingent
         11048 SE 31st St.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Bellevue, WA 98004
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/16/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.98     Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Jordan Case
                                                                       ❑ Contingent
         302 Pinecrest Pl                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Andover, KS 67002
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.99     Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $3,000.00
                                                                       Check all that apply.
         Jordan Case
                                                                       ❑ Contingent
         302 Pinecrest Pl                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Andover, KS 67002
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      11/14/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $3,000.00
3.100                                                                  Check all that apply.
         Jordan Lund
                                                                       ❑ Contingent
         5452 Aldrich Ave S                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Minneapolis, MN 55419
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/13/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.101 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Jordan Lund
                                                                       ❑ Contingent
         5452 Aldrich Ave S                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Minneapolis, MN 55419
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.102 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Jose Ceniceros
                                                                       ❑ Contingent
         19621 6th Ave S                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Des Moines, WA 98148
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.103 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,000.00
                                                                       Check all that apply.
         Jose Fabian Kabigumila
                                                                       ❑ Contingent
         9 Myrna Dr.                                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Marlborough, CT 06447
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/16/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $1,000.00
3.104                                                                  Check all that apply.
         Joseph Carothers
                                                                       ❑ Contingent
         1813 Honey Hill Rd.                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Hardeeville, KS 66027
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.105 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Juan Jackson
                                                                       ❑ Contingent
         1804 Barksdale Drive                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Lexington, KY 40511
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.106 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Juan Jackson
                                                                       ❑ Contingent
         1804 Barksdale Drive                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Lexington, KY 40511
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.107 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,000.00
                                                                       Check all that apply.
         Juan Jackson
                                                                       ❑ Contingent
         1804 Barksdale Drive                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Lexington, KY 40511
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $10,000.00
3.108                                                                  Check all that apply.
         Kishore Anjaneyulu
                                                                       ❑ Contingent
         1204 Yarrow Rd                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Matthews, NC 28104
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/27/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.109 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $25,000.00
                                                                       Check all that apply.
         Laurie Cercone
                                                                       ❑ Contingent
         604 Eagle                                                     ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78734
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      09/03/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number
         Remarks: New Quest Enterprises, LLC

3.110 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $25,000.00
                                                                       Check all that apply.
         Lawrence D. Hutchison
                                                                       ❑ Contingent
         306 Landing Lane                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Chestertown, MD 21620
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/17/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.111 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,000.00
                                                                       Check all that apply.
         Lawrence D. Hutchison
                                                                       ❑ Contingent
         306 Landing Lane                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Chestertown, MD 21620
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/22/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $25,000.00
3.112                                                                  Check all that apply.
         Lawrence D. Hutchison and Marcia Hutchison
                                                                       ❑ Contingent
         306 Landing Lane                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Chestertown, MD 21620
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      10/28/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.113 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Leonid Mordkovich
                                                                       ❑ Contingent
         1974 Devonshire Ave                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Avon, IN 46123
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.114 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $100,000.00
                                                                       Check all that apply.
         Mallory Frick and JM FRICK LLC
                                                                       ❑ Contingent
         328 Ledge Stone drive                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78737
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/19/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.115 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,300.00
                                                                       Check all that apply.
         Manoj Sonje
                                                                       ❑ Contingent
         16303 Chelsea Place Apt. 236                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Selma, TX 78154
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $1,000.00
3.116                                                                  Check all that apply.
         Marc Russell
                                                                       ❑ Contingent
         471 East 4300 North                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Provo, UT 84604
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/13/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
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3.117 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Marco Frabotta
                                                                       ❑ Contingent
         2222 Detroit Ave 1013                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Cleveland, OH 44113
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.118 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Mark and Candice Gimbel Family Living Trust
                                                                       ❑ Contingent
         13258 N. 79th St.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Scottsdale, AZ 85260
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.119 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Mark Beauharnois
                                                                       ❑ Contingent
         6867 Amanda Lane                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Lockport, NY 14094
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/17/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,000.00
3.120                                                                  Check all that apply.
         Mark Beauharnois
                                                                       ❑ Contingent
         6867 Amanda Lane                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Lockport, NY 14094
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      11/16/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.121 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $4,000.00
                                                                       Check all that apply.
         Mark Beauharnois
                                                                       ❑ Contingent
         6867 Amanda Lane                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Lockport, NY 14094
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/24/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.122 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,000.00
                                                                       Check all that apply.
         Martin Duenaz
                                                                       ❑ Contingent
         30280 Prospect Rd                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Nettleton, MS 38858
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/13/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.123 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Matthew Hendershot
                                                                       ❑ Contingent
         1841 W Wisteria Dr                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Chandler, AZ 85248
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $100,000.00
3.124                                                                  Check all that apply.
         Matthew Peter Kelly and Xin Geng Kelly
                                                                       ❑ Contingent
         13190 Burke Rd                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Los Altos, CA 94022
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      09/15/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.125 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $13,000.00
                                                                       Check all that apply.
         Max Mahan
                                                                       ❑ Contingent
         4479 Vrain St.                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Denver, CO 80212
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.126 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,000.00
                                                                       Check all that apply.
         Max Mahan
                                                                       ❑ Contingent
         4479 Vrain St.                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Denver, CO 80212
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.127 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $25,000.00
                                                                       Check all that apply.
         Melane Rella and Angelo Rella
                                                                       ❑ Contingent
         628 Burno Mountain Road                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Cotopaxi, CO 81223
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $1,000.00
3.128                                                                  Check all that apply.
         Melissa Hector
                                                                       ❑ Contingent
         1080 Cypress Parkway Suite 1187                               ❑ Unliquidated
                                                                       ❑ Disputed
         Kissimmee, FL 34759
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.129 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $40,000.00
                                                                       Check all that apply.
         Michael Brown
                                                                       ❑ Contingent
         56 Blackberry Ln                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Yarmouth, ME 04096
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      10/29/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.130 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $25,000.00
                                                                       Check all that apply.
         Michael Brown
                                                                       ❑ Contingent
         56 Blackberry Ln                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Yarmouth, ME 04096
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.131 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Michael Harrison Jr
                                                                       ❑ Contingent
         136 Cowper St                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Palo Alto, CA 94301
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/13/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $7,500.00
3.132                                                                  Check all that apply.
         Michael Michael
                                                                       ❑ Contingent
         333 Turn Pike Dr.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Folsom, CA 95630
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.133 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,000.00
                                                                       Check all that apply.
         Michael Miracle
                                                                       ❑ Contingent
         14 Chardonnay Drive                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Holmdel, NJ 07733
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.134 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Nageswara Kondraganti
                                                                       ❑ Contingent
         12365 Willowgate Dr.                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Frisco, TX 75035
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.135 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Nainesh Patel
                                                                       ❑ Contingent
         23 Nancy St.                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Kendall Park, NJ 08824
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      10/28/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $20,000.00
3.136                                                                  Check all that apply.
         Nainesh Patel
                                                                       ❑ Contingent
         23 Nancy St.                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Kendall Park, NJ 08824
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.137 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $25,000.00
                                                                       Check all that apply.
         Nainesh Patel
                                                                       ❑ Contingent
         23 Nancy St.                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Kendall Park, NJ 08824
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.138 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Naishadh Saraiya
                                                                       ❑ Contingent
         5025 Hudson Drive                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Plano, TX 75093
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/16/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.139 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Nemanja Milosevic
                                                                       ❑ Contingent
         Lange Zeile 12,                                               ❑ Unliquidated
         90419 Nuremberg                                               ❑ Disputed
         Germany                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      09/01/2022

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,000.00
3.140                                                                  Check all that apply.
         Nemanja Milosevic
                                                                       ❑ Contingent
         Lange Zeile 12,                                               ❑ Unliquidated
         90419 Nuremberg                                               ❑ Disputed
         Germany                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number




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3.141 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Nic Hickox
                                                                       ❑ Contingent
         4301 W. William Cannon Dr. STE B-150 #107                     ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78749
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.142 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Nirmalbhai C Patel
                                                                       ❑ Contingent
         52 Meadow Brook Rd.                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Edison, NJ 08837
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      09/01/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.143 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Paul and Mary Wilcox
                                                                       ❑ Contingent
         380 Columbus Ave. #1                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Boston, MA 02116
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $1,000.00
3.144                                                                  Check all that apply.
         Petr Zaytsev
                                                                       ❑ Contingent
         3632 Carlisle Dr                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Durham, NC 27707
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.145 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Petr Zaytsev
                                                                       ❑ Contingent
         3632 Carlisle Dr                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Durham, NC 27707
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.146 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Rajamani Ganesh
                                                                       ❑ Contingent
         13895 Clatsop Way                                             ❑ Unliquidated
                                                                       ❑ Disputed
         San Diego, CA 92129
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.147 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,000.00
                                                                       Check all that apply.
         Rakesh Bhimaraddi Sasvihalli
                                                                       ❑ Contingent
         #132, SRIGANDHA, VINAYAK COLONY,                              ❑ Unliquidated
         VIDYANAGAR                                                    ❑ Disputed
         HUBLI, 580031                                                 Basis for the claim: Lender
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      08/23/2022

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $25,000.00
3.148                                                                  Check all that apply.
         Richard Ditter
                                                                       ❑ Contingent
         9449 Poplar Ave                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Germantown, TN 38138
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
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3.149 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Richard Litzky
                                                                       ❑ Contingent
         5158 Forest Brook Pkwy                                        ❑ Unliquidated
                                                                       ❑ Disputed
         Marietta, GA 30068
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.150 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Richard Pottin
                                                                       ❑ Contingent
         312 - 6380 Buswell Street                                     ❑ Unliquidated
         Richmond, BC                                                  ❑ Disputed
         V6Y 2G2                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      08/19/2022

         Last 4 digits of account number

3.151 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Richard Pottin
                                                                       ❑ Contingent
         312 - 6380 Buswell Street                                     ❑ Unliquidated
         Richmond, BC                                                  ❑ Disputed
         V6Y 2G2                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      11/08/2022

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $3,000.00
3.152                                                                  Check all that apply.
         Richard S Mackin Jr
                                                                       ❑ Contingent
         1639 Glasgo Rd.                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Griswold, CT 06351
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/30/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
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3.153 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Robert Bruce
                                                                       ❑ Contingent
         7077 N Mason Ave.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Chicago, IL 60646
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      11/05/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.154 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Roosevelt Scott
                                                                       ❑ Contingent
         802 Hawk View Court                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Fairview Heights, IL 62208
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.155 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $15,000.00
                                                                       Check all that apply.
         Roosevelt Scott
                                                                       ❑ Contingent
         802 Hawk View Court                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Fairview Heights, IL 62208
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      11/10/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $10,000.00
3.156                                                                  Check all that apply.
         Roosevelt Scott
                                                                       ❑ Contingent
         802 Hawk View Court                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Fairview Heights, IL 62208
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
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                                                                       ❑ Yes




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3.157 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Ross Wigle
                                                                       ❑ Contingent
         168 Charterhouse Cres.                                        ❑ Unliquidated
         Ancaster, ON                                                  ❑ Disputed
         Canada L9G 4M5                                                Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      08/16/2022

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3.158 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Rushi Ukani
                                                                       ❑ Contingent
         8 Koster Blvd. Apt. 6A                                        ❑ Unliquidated
                                                                       ❑ Disputed
         Edison, NJ 08837
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.159 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,000.00
                                                                       Check all that apply.
         Ruth Griffith and Anthony Griffith
                                                                       ❑ Contingent
         96 Puunoa Pl.                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Lahaina, HI 96761
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,500.00
3.160                                                                  Check all that apply.
         Ruth Griffith and Anthony Griffith
                                                                       ❑ Contingent
         96 Puunoa Pl.                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Lahaina, HI 96761
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.161 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,000.00
                                                                       Check all that apply.
         Ryan Burt
                                                                       ❑ Contingent
         18115 59th Ave N.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Minneapolis, MN 55446
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      09/02/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.162 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,000.00
                                                                       Check all that apply.
         Ryan Burt
                                                                       ❑ Contingent
         18115 59th Ave N.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Minneapolis, MN 55446
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/27/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.163 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Ryan Burt
                                                                       ❑ Contingent
         18115 59th Ave N.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Minneapolis, MN 55446
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      11/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,500.00
3.164                                                                  Check all that apply.
         Ryan Hall
                                                                       ❑ Contingent
         6053 Big Pond Trl                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Grovetown, GA 30813
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.165 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $15,000.00
                                                                       Check all that apply.
         Saifon Chang
                                                                       ❑ Contingent
         5822 E. Wildrose Dr.                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Orange, CA 92867
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/30/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.166 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,000.00
                                                                       Check all that apply.
         Salvatore Pepe
                                                                       ❑ Contingent
         1011 Schindler Dr.                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Silver Spring, MD 20903
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.167 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Salvatore Pepe
                                                                       ❑ Contingent
         1011 Schindler Dr.                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Silver Spring, MD 20903
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      11/07/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $3,000.00
3.168                                                                  Check all that apply.
         Samuel Esau Goldman
                                                                       ❑ Contingent
         2129 Grand Oaks Ave.                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Altadena, CA 91001
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.169 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,500.00
                                                                       Check all that apply.
         Sanjay Pinnock
                                                                       ❑ Contingent
         7275 Leonard Street                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Philadelphia, PA 19149
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.170 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $15,000.00
                                                                       Check all that apply.
         Sanjay V Patel
                                                                       ❑ Contingent
         17199 Carrotwood Dr.                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Riverside, CA 92503
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.171 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Sedjin Alka
                                                                       ❑ Contingent
         203 West Sealy Ave.                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Alvin, TX 77511
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,500.00
3.172                                                                  Check all that apply.
         Shankar Narayanan Shankar Ganpathy
                                                                       ❑ Contingent
         6820 Preston Road Apt. 225                                    ❑ Unliquidated
                                                                       ❑ Disputed
         Plano, TX 75024
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.173 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,000.00
                                                                       Check all that apply.
         SoftDsk, LLC
                                                                       ❑ Contingent
         PO Box 5963                                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Plant City, FL 33563
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.174 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,000.00
                                                                       Check all that apply.
         SoftDsk, LLC
                                                                       ❑ Contingent
         PO Box 5963                                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Plant City, FL 33563
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      11/10/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.175 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Spencer Diner
                                                                       ❑ Contingent
         4261 South Pearl Street                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Englewood, CO 80013
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $25,000.00
3.176                                                                  Check all that apply.
         Stephen Berger
                                                                       ❑ Contingent
         64 Northland Rd                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Windham, NH 03087
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/22/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.177 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $162,318.00
                                                                       Check all that apply.
         Stripe Capital
                                                                       ❑ Contingent
         185 Berry St. #550                                            ❑ Unliquidated
                                                                       ❑ Disputed
         San Francisco, CA 94107
                                                                       Basis for the claim: A/R
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      8/27/2020                ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.178 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,000.00
                                                                       Check all that apply.
         Talent Dube
                                                                       ❑ Contingent
         8/100 Wittenoom Rd.                                           ❑ Unliquidated
         High Wycombe, WA 6057                                         ❑ Disputed
         (Perth, Australia)                                            Basis for the claim: Lender
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      08/13/2022

         Last 4 digits of account number

3.179 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Tammy Hong
                                                                       ❑ Contingent
         12407 Bexley Dr.                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Houston, TX 77099
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/30/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $50,000.00
3.180                                                                  Check all that apply.
         The Hochman Family Trust
                                                                       ❑ Contingent
         6104 Sierra Arbor Ct.                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78759
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.181 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $25,000.00
                                                                       Check all that apply.
         Thomas Dolezal
                                                                       ❑ Contingent
         1166 Pitkin Ave.                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Akron, OH 44310
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.182 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $25,000.00
                                                                       Check all that apply.
         Thomas Dolezal
                                                                       ❑ Contingent
         1166 Pitkin Ave.                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Akron, OH 44310
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      10/28/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.183 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Thomas Dolezal
                                                                       ❑ Contingent
         1166 Pitkin Ave.                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Akron, OH 44310
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $10,000.00
3.184                                                                  Check all that apply.
         Thomas E. Canty
                                                                       ❑ Contingent
         7592 Mona Ln.                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         San Diego, CA 92130
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.185 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,549.00
                                                                       Check all that apply.
         Thomas Mueller
                                                                       ❑ Contingent
         9571 Crestwood Lane                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Anaheim, CA 92804
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.186 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Thomas Mueller
                                                                       ❑ Contingent
         9571 Crestwood Lane                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Anaheim, CA 92804
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.187 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $50,000.00
                                                                       Check all that apply.
         Timothy C. Taylor, Sr
                                                                       ❑ Contingent
         P.O. Box 5371                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78763
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $500,000.00
3.188                                                                  Check all that apply.
         U.S. Small Business Administration
                                                                       ❑ Contingent
         1545 Hawkins Blvd 202                                         ❑ Unliquidated
                                                                       ❑ Disputed
         El Paso, TX 79925
                                                                       Basis for the claim: EIDL Loan
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      12/20/2021               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number      7   4   0    4




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3.189 Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:            $10,000.00
                                                                          Check all that apply.
         Victoria Lerner, Trustee, Lerner Living Trust
                                                                          ❑ Contingent
         11758 Crescenda Street                                           ❑ Unliquidated
                                                                          ❑ Disputed
         Los Angeles, CA 90049
                                                                          Basis for the claim: Investor Note
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022                  ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Last 4 digits of account number

3.190 Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:            $10,000.00
                                                                          Check all that apply.
         Vincent Goveas
                                                                          ❑ Contingent
         1251 Weathersfield Way                                           ❑ Unliquidated
                                                                          ❑ Disputed
         San Jose, CA 95118
                                                                          Basis for the claim: Investor Note
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred      08/30/2022                  ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Last 4 digits of account number

3.191 Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:            $5,000.00
                                                                          Check all that apply.
         Vincent Mach
                                                                          ❑ Contingent
         950 Windsong Court                                               ❑ Unliquidated
                                                                          ❑ Disputed
         Diamond Bar, CA 91765
                                                                          Basis for the claim: Investor Note
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022                  ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,000.00
3.192                                                                     Check all that apply.
         Virgilio Yabut
                                                                          ❑ Contingent
         A & F Guaranteed Service, LLC                                    ❑ Unliquidated
                                                                          ❑ Disputed
         2 Meadow Lark Lane                                               Basis for the claim: Investor Note
         Franklin Park, NJ 08823                                          Is the claim subject to offset?
                                                                          ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Date or dates debt was incurred      08/12/2022

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3.193 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Wesley Kotcher
                                                                       ❑ Contingent
         39 S Main St.                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Rosedale, IN 47874
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.194 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $25,000.00
                                                                       Check all that apply.
         Wilfrid Jean-Francois
                                                                       ❑ Contingent
         2144 Oakwood Place                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Elmont, NY 11003
                                                                       Basis for the claim: Lender
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.195 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Wilfrid Jean-Francois
                                                                       ❑ Contingent
         2144 Oakwood Place                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Elmont, NY 11003
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/21/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $10,000.00
3.196                                                                  Check all that apply.
         William Adams
                                                                       ❑ Contingent
         11732 Reva Dr.                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Garden Grove, CA 92840
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
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3.197 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,000.00
                                                                       Check all that apply.
         William P Daly III
                                                                       ❑ Contingent
         907 Lakewood Ct S                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Maplewood, MN 55119
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/24/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.198 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Zabel M. Miracle and Micheal J Miracle
                                                                       ❑ Contingent
         14 Chardonnay Drive                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Holmdel, NJ 07733
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/19/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.199 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $30,000.00
                                                                       Check all that apply.
         Zachary Fuchs
                                                                       ❑ Contingent
         41 Glenbrook Rd.                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Monsey, NY 10952
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $20,000.00
3.200                                                                  Check all that apply.
         Zachary Fuchs
                                                                       ❑ Contingent
         41 Glenbrook Rd.                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Monsey, NY 10952
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      10/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 51 of 54
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Debtor      ASTRALABS Inc                                                                           Case number (if known)        23-10164
            Name




 Part 2: Additional Page

3.201 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $15,000.00
                                                                    Check all that apply.
         Zachary Potvin
                                                                    ❑ Contingent
         1016 Enchantment Rd.                                       ❑ Unliquidated
                                                                    ❑ Disputed
         Rapid City, SD 57701
                                                                    Basis for the claim: Investor Note
                                                                    Is the claim subject to offset?
         Date or dates debt was incurred   08/11/2022               ✔ No
                                                                    ❑
                                                                    ❑ Yes
         Last 4 digits of account number




Official Form 206E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      page 52 of 54
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Debtor        ASTRALABS Inc                                                                                   Case number (if known)              23-10164
              Name

 Part 3: List Others to Be Notified About Unsecured Claims

 4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection
        agencies, assignees of claims listed above, and attorneys for unsecured creditors.
      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


          Name and mailing address                                                     On which line in Part 1 or Part 2 is the related         Last 4 digits of
                                                                                       creditor (if any) listed?                                account number,
                                                                                                                                                if any

 4.1     Bootstrap Servicing, Inc.                                                   Line 3.177

         510 Townsend Street                                                         ❑ Not listed. Explain
         San Francisco, CA 94103

 4.2     Celtic Bank                                                                 Line 3.177

         268 South State Street Suite 300                                            ❑ Not listed. Explain
         Salt Lake City, UT 84111

 4.3     Clearco                                                                     Line 3.26

         Pavilion House,                                                             ❑ Not listed. Explain
         31 Fitzwilliam Square,
         Dublin 2, Ireland




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                           page 53 of 54
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Debtor       ASTRALABS Inc                                                                        Case number (if known)    23-10164
            Name

 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $0.00




  5b. Total claims from Part 2                                                     5b.              $4,666,437.00
                                                                                          +

  5c. Total of Parts 1 and 2                                                       5c.              $4,666,437.00
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                         page 54 of 54
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                                                   93
 Fill in this information to identify the case:

 Debtor name                                ASTRALABS Inc

 United States Bankruptcy Court for the:
                                Western District of Texas

 Case number (if known):                23-10164               Chapter   11                                                       ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       ❑
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or            979 Springdale Rd, Unit 123, Austin, TX      3423 Holdings, LLC
2.1    lease is for and the nature
       of the debtor’s interest              Contract to be ASSUMED                       4811 E 7th Street
                                                                                          Austin, TX 78702
       State the term remaining              46 months

       List the contract number of
       any government contract

       State what the contract or            Corporate Housing                            Barrero, Martha A.
2.2    lease is for and the nature
       of the debtor’s interest              Contract to be REJECTED                      2121 Lohman's Crossing Road 504-426
                                                                                          Austin, TX 78734
       State the term remaining              5 months

       List the contract number of
       any government contract

       State what the contract or            Corporate Housing                            Mease, Kevin
2.3    lease is for and the nature
       of the debtor’s interest              Contract to be REJECTED                      300 S. Lamar 207
                                                                                          Austin, TX 78704
       State the term remaining              6 months

       List the contract number of
       any government contract

       State what the contract or
2.4    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract




Official Form 206G                                       Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of 1
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                                               93
 Fill in this information to identify the case:

  Debtor name          ASTRALABS Inc


  United States Bankruptcy Court for the:              Western              District of             Texas

                                                                                                                                         ❑
                                                                                          (State)
  Case number (If known):            23-10164                                                                                                 Check if this is an
                                                                                                                                              amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                                           12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ❑     No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔
        ❑     Yes

  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                 Column 2: Creditor

                                                                                                                                          Check all
         Name                               Mailing address                                                 Name                          schedules
                                                                                                                                          that apply:

 2.1     Nihar Patel                         979 Springdale Rd. Suite #123                                  Iruka Capital                 ✔
                                                                                                                                          ❑   D
                                            Street                                                                                        ❑   E/F
                                             979 Springdale Rd. Suite #123                                                                ❑   G
                                                                                                            Apex Funding Source,          ✔
                                                                                                                                          ❑   D
                                             Austin, TX 78723
                                            City                   State                   ZIP Code
                                                                                                            LLC                           ❑   E/F
                                                                                                                                          ❑   G

 2.2     Ryan, Andrew                        979 Springdale Rd. Suite #123                                  Iruka Capital                 ✔
                                                                                                                                          ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G
                                                                                                            Apex Funding Source,          ✔
                                                                                                                                          ❑   D
                                             Austin, TX 78723
                                            City                   State                   ZIP Code
                                                                                                            LLC                           ❑   E/F
                                                                                                                                          ❑   G

 2.3                                                                                                                                      ❑D
                                            Street                                                                                        ❑ E/F
                                                                                                                                          ❑G

                                            City                   State                   ZIP Code

 2.4                                                                                                                                      ❑D
                                            Street                                                                                        ❑ E/F
                                                                                                                                          ❑G

                                            City                   State                   ZIP Code




Official Form 206H                                                   Schedule H: Codebtors                                                          page 1 of    2
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Debtor      ASTRALABS Inc                                                                 Case number (if known) 23-10164
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all
         Name                         Mailing address                                           Name                         schedules
                                                                                                                             that apply:

 2.5                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.6                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code




Official Form 206H                                             Schedule H: Codebtors                                             page      2   of   2
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 Fill in this information to identify the case:

 Debtor name                                                ASTRALABS Inc

 United States Bankruptcy Court for the:
                                            Western District of Texas

 Case number (if known):                              23-10164                           Chapter           11                                                                                     ❑ Check if this is an
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                         12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                             $0.00


    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                       $1,716,816.59

    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                       $1,716,816.59




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                       $1,130,000.00



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                                 $0.00


    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +           $4,666,437.00




 4. Total liabilities..............................................................................................................................................................................                    $5,796,437.00

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                            page 1
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3423 HOLDINGS, LLC
4811 E 7TH STREET
AUSTIN, TX 78702




ADWAIT MUTHAL
7 WAINWRIGHT RD UNIT 80
WINCHESTER, MA 01890-2381




ALBERT BALADY
208 ACKERMAN AVE
HO HO KUS, NJ 07423-1006




ALEXANDER CLARENCE
MCINTOSH
1047 EAST SPAZIER AVE. APT. # L
BURBANK, CA 91502



ALEXANDER SEERY
925 ROLFE PLACE
ALEXANDRIA, VA 22314




ALEXANDRA CHERWA AKA
JONATHAN CHERWA
15907 91ST AVE CT E
PUYALLUP, WA 98375



ALEXANDRE SYLVESTRE
609 TOWER DR.
EDGEWATER, NJ 07020




ANTHONY RUNNELS
12024 ROCK CREEK CT.
HAWTHORNE, CA 90250
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ANTHONY VELOSO
730 MASON ROAD
JEFFERSON, MA 01522




ANTONELLO LODDO
205 RIDGE AVE
GETTYSBURG, PA 17325




ANU SANTHANAGOPAL
12 BRITTANY WAY
KENDALL PARK, NJ 08824




ANUJ JAIN AKA ANMOL JAIN
620 W 42N ST APT S06G
NEW YORK, NY 10036




APEX FUNDING SOURCE, LLC
3050 BISCAYNE BLVD SUITE 502
MIAMI, FL 33137




ARTURO BENEDICTO M.
LLANO
10 JUAN LUNA, UP CAMPUS,
DILIMAN, QUEZON CITY,
METRO MANILA


ASTRALABS INC
979 SPRINGDALE ROAD SUITE #123
AUSTIN, TX 78723




AVINASH REDDY DESIREDDY
16304 FM 1325 APT 7315
AUSTIN, TX 78728
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BAIPING GUO
8 MOONEY STREET
LANE COVE NORTH NSW 2066
AUSTRALIA



MARTHA A. BARRERO
2121 LOHMAN'S CROSSING ROAD
504-426
AUSTIN, TX 78734



BILLY JACK LINSLEY
16 BODINE STREET
WELLSBORO, PA 16901




BOOTSTRAP SERVICING, INC.
510 TOWNSEND STREET
SAN FRANCISCO, CA 94103




BRADFORD CHAN
2540 WEXFORD AVE.
SOUTH SAN FRANCISCO, CA 94080




BRADLEY G KESSLER /
KESSLER REALTY HOLDINGS
INC.
1621 NORTHLAND AVE
LAKEWOOD, OH 44107


BRADLEY ROBERTSON
550 OAK GROVE AVE. UNIT 122
MENLO PARK, CA 94025




CAMERON RESNICK
870 NORTH 28TH STREET 101
PHILADELPHIA, PA 19130
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CARL LUMMA
367 LOS GATOS BLVD
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CARL RUSSO
707 WILLOW AVE. UNIT #2
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CASEY MELCHER
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CELTIC BANK
268 SOUTH STATE STREET SUITE 300
SALT LAKE CITY, UT 84111




CFT CLEAR FINANCE
TECHNOLOGY CORP.
1200-33 YONGE STREET,
TORONTO, ONTARIO,
M5E 1G4, CANADA


CHAD DOYLE
3450 CRESTMOOR DR.
SAN BRUNO, CA 94066




CHAISSON-BROWNE LLC
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CHANG TING ZOU
48 WOODVIEW DR.
BREWSTER, MA 02631
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CHRISTINA HONG
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CHRISTOPHER FAST
45 MERIAM STREET
WAKEFIELD, MA 01880




CHRISTOPHER FONTAINE
7814 BRADENTON DRIVE
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CLEARCO
PAVILION HOUSE,
31 FITZWILLIAM SQUARE,
DUBLIN 2, IRELAND



CONSTANTINE TRIKAS
840 FULTON STREET APT. 704
BROOKLYN, NY 11238




CORDTZ TUATOO
417 SWIFT FOX RUN
CRESTVIEW, FL 32536




COVENTRY CAPITAL
PARTNERS, LLC
306 LANDING LANE
CHESTERTOWN, MD 21620



CRISTIAN I CRISAN
15408 FISHER ISLAND DR.
AUSTIN, TX 78717
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CURT BROMM
5785 OPEN FIELDS DRIVE
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DARYL W CAMPBELL
3353 RIVER VALLEY DR.
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DAVID FISHER
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WILLIAMSTOWN, NJ 08094




DAVID HULE
842 HARBOR ISLAND DR.
NEWPORT BEACH, CA 92660




DIEGO MAURO COGNO
65B CROMFORD ROAD
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LONDON, UK



EMILIJA DIMITROVSKI
LANGE ZEILE 12,
90419 NUREMBERG
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ERIC LEE
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PLANO, TX 75023
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ETHAN BRANDT
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EJOHNSON RD LLC
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FILIPE PEERALLY
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FRANSHESCA CASTORIA
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GARY L DEVRIES
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GEORGE ANDREW SIMONS
CDP
15B ACACIA LANE,
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SANDYS MA 02 BERMUDA


GIRISH AMIN
1419 SIERRA GLEN CIRCLE
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GLENN HUNTER
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GREEN FUTURE INVESTMENTS
LLC
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GREGORY BAKER
224 FURMAN FARM PL.
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HASAN UGUR KOYLUOGLU
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IRUKA CAPITAL
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IRYNA ZHURAVEL
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J333 VENTURES LLC
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BUDA, TX 78610




JACK ATKIN
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JACK P. HOPPER
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JAMES STEELE
510 COFFIN ALLEY, PO BOX 382
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JAN KVITA
KE KRCI 1002/24
PRAGUE
CZECH REPUBLIC



JARON ("ROBERT") GLASGOW
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OAKDALE, MN 55128




JASON CROFT
28A PARKWAY VILLAGE
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JOAO CARLOS DOS SANTOS
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AND MARCIA HUTCHISON
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MALLORY FRICK AND JM
FRICK LLC
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MARK BEAUHARNOIS
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LOCKPORT, NY 14094




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1841 W WISTERIA DR
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MATTHEW PETER KELLY AND
XIN GENG KELLY
13190 BURKE RD
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MAX MAHAN
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MICHAEL MICHAEL
333 TURN PIKE DR.
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NAINESH PATEL
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NAISHADH SARAIYA
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NEMANJA MILOSEVIC
LANGE ZEILE 12,
90419 NUREMBERG
GERMANY



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NIHAR PATEL
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SUITE #123
979 SPRINGDALE RD. SUITE #123
AUSTIN, TX 78723


NIRMALBHAI C PATEL
52 MEADOW BROOK RD.
EDISON, NJ 08837
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PAUL AND MARY WILCOX
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PETR ZAYTSEV
3632 CARLISLE DR
DURHAM, NC 27707




RAJAMANI GANESH
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SAN DIEGO, CA 92129




RAKESH BHIMARADDI
SASVIHALLI
#132, SRIGANDHA, VINAYAK COLONY,
VIDYANAGAR
HUBLI, 580031


RICHARD DITTER
9449 POPLAR AVE
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RICHARD LITZKY
5158 FOREST BROOK PKWY
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                                         93
                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                       WESTERN DISTRICT OF TEXAS
                                                             AUSTIN DIVISION

IN RE: ASTRALABS Inc                                                                  CASE NO 23-10164

                                                                                      CHAPTER 11




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      03/30/2023            Signature                                 /s/ Jack Cartwright
                                                                      Jack Cartwright, VP of Finance
